Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 1 of 25 PageID #:1367
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 2 of 25 PageID #:1368
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 3 of 25 PageID #:1369
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 4 of 25 PageID #:1370
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 5 of 25 PageID #:1371
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 6 of 25 PageID #:1372
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 7 of 25 PageID #:1373
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 8 of 25 PageID #:1374
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 9 of 25 PageID #:1375
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 10 of 25 PageID #:1376
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 11 of 25 PageID #:1377
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 12 of 25 PageID #:1378
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Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 14 of 25 PageID #:1380
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 15 of 25 PageID #:1381
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Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 18 of 25 PageID #:1384
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 19 of 25 PageID #:1385
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 20 of 25 PageID #:1386
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 21 of 25 PageID #:1387
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 22 of 25 PageID #:1388
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 23 of 25 PageID #:1389
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 24 of 25 PageID #:1390
Case: 1:01-cr-00852 Document #: 334 Filed: 07/02/03 Page 25 of 25 PageID #:1391
